                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLORADO

Civil Action No.: 1:20-cv-2475

Deborah Laufer,
      Plaintiff,
v.
Randall J. Looper, and
Cynthia C. Looper d/b/a Elk Run Inn,
      Defendant(s).


            PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS



       I hereby certify that the instant action is not related to any pending or closed

civil or criminal action previously filed in this Court, or any other Federal or State

Court, or administrative agency.

                                           s/ Suzette M. Marteny Moore
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                                           Attorney for Plaintiff, Deborah Laufer

                             CERTIFICATE OF SERVICE

       I hereby certify that on August 20, 2020, I filed the foregoing using the Court's

electronic filing system, which will serve all counsel of record electronically.

                                           s/ Suzette M. Marteny Moore
                                           Attorney
